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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

             CHAMBERS OF                                                 MARTIN LUTHER KING COURTHOUSE
       MADELINE COX ARLEO                                                   50 WALNUT ST. ROOM 4066
    UNITED STATES DISTRICT JUDGE                                                NEWARK, NJ 07101
                                                                                  973-297-4903

March 17, 2022

VIA ECF
Counsel of Record

VIA CERTIFIED MAIL
H. Scott Gurvey
Amy Gurvey
315 Highland Avenue
Upper Montclair, New Jersey 07043

                                               LETTER ORDER

         Re:      M&T Bank v. H. Scott Gurvey, et al.
                  H. Scott Gurvey, et al. v. M&T Bank, Inc., et al.
                  H. Scott Gurvey, et al. v. Hon. Glenn A. Grant, et al.
                  Civil Action Nos. 18-12702, 20-7831, 21-16397

Dear Litigants:
       The Court is in receipt of Plaintiffs Amy Gurvey’s and H. Scott Gurvey’s (“Plaintiffs”)
Request for an “Order to Show Cause to Vacate Orders of Disqualified Judge, Consolidate DNJ
Cases, and to Schedule OSC Hearing,” which Plaintiffs simultaneously filed in each of the above
cases. Plaintiffs request the following relief: (1) vacatur of all orders entered by the Honorable
Susan D. Wigenton, U.S.D.J. (“Judge Wigenton”) in the above cases; 1 (2) consolidation of each

1
  Plaintiffs’ requested relief pertains to three actions formerly before Judge Wigenton, each of which was reassigned
to the undersigned in February or March, 2022.
In the first action, M&T Bank (“M&T”) filed a complaint against Plaintiffs in New Jersey Superior Court (“Superior
Court”) on July 5, 2018, seeking to foreclose on property owned by Plaintiffs. See M&T Bank v. Gurvey, No. 18-
12702 (D.N.J.) (the “Foreclosure Action”), ECF No. 1.1. After Plaintiffs removed the Foreclosure Action, Judge
Wigenton remanded it for lack of subject matter jurisdiction on March 29, 2019, id., ECF No. 15, and denied Plaintiffs’
motion for reconsideration on April 1, 2019, id., ECF No. 19.
Second, Plaintiffs filed a complaint on June 25, 2020 against M&T and its attorneys, alleging federal statutory and
pendent state law claims arising from conduct related to the foreclosure. See Gurvey v. M&T Bank, Inc., No. 20-
7831 (D.N.J.) (the “First Federal Action”), ECF No. 1. On December 17, 2020, Judge Wigenton abstained from the
First Federal Action pursuant to Colorado River Water Conservation Dist. v. United States, 424 U.S. 800 (1976),
based on the existence of parallel state actions concerning the same subject matter. Id., ECF No. 21.
Third, on September 1, 2021, Plaintiffs filed a new complaint seeking, among other things, injunctive relief declaring
the “eCourts” system utilized in the New Jersey state court system unconstitutional. See Gurvey v. Grant, No. 21-
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case for further proceedings; and (3) an immediate stay of a sheriff’s sale on Plaintiffs’ house,
currently scheduled for May 5, 2022. 2 Under Local Civil Rule 65.1(a), a plaintiff may “apply for
an order requiring an adverse party to show cause why a preliminary injunction should not issue”
upon a “clear and specific showing by affidavit . . . of good and sufficient reasons why a procedure
other than by notice of motion is necessary.”
        First, Plaintiffs’ request for an immediate stay of the sheriff’s sale is denied. Plaintiffs do
not clearly articulate a basis for an injunction but appear to argue that Judge Wigenton’s order to
remand the Foreclosure Action must be vacated, and that had the Foreclosure Action not been
remanded, the New Jersey Superior Court could not have entered a judgment of foreclosure. 3 See
Affidavit in Support of Order to Show Cause (“Gurvey Aff.”) ¶¶ 14, 16, ECF No. 14. However,
once a case is remanded to state court for lack of subject matter jurisdiction, this Court lacks
jurisdiction to review the remand order. Agostini v. Piper Aircraft Corp., 729 F.3d 350, 352–53,
355-56 (3d Cir. 2013); see also 28 U.S.C. § 1447(d) (“An order remanding a case to the State court
from which it was removed is not reviewable on appeal or otherwise.”). Thus, the Court has no
ability to reconsider or vacate Judge Wigenton’s Order remanding the Foreclosure Action. 4
Plaintiffs’ application is denied as it pertains to the Foreclosure Action or the pending sheriff’s
sale.
        Second, the Court construes Plaintiffs request to vacate prior orders in the First Federal
Action as a motion for relief from judgment under Federal Rule of Civil Procedure 60(b)(6), which
permits relief from judgment for “any other reason that justifies relief.” See Liljeberg v. Health
Servs. Acquisition Corp., 486 U.S. 847, 863-64 (1988). As it pertains to the First Federal Action,
Plaintiffs have provided no explanation, much less a “clear and specific showing,” as to why an
immediate preliminary injunction is necessary. The Court will therefore decide Plaintiff’s Motion
in the ordinary course. The defendants named in the First Federal Action are directed to respond
to Plaintiffs’ motion no later than April 1, 2022, and Plaintiffs shall file any reply by April 8,
2022.
        Third, with respect to the Second Federal Action, Plaintiffs asks the Court to vacate Judge
Wigenton’s order denying its motion for an preliminary injunction stating that New Jersey’s
eCourts filing system unconstitutional. While Plaintiffs have submitted an affidavit making vague
allusions to errors made by “eCourts officers,” Gurvey Aff. ¶¶ 2, 15, they have failed to clearly
and specifically explain the alleged irreparable harm they will suffer unless the Court immediately
grants relief. 5 See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (“A plaintiff

16397 (D.N.J.) (the “Second Federal Action”), ECF No 1. On September 8, 2021, Judge Wigenton denied Plaintiffs’
motion for a preliminary injunction in the Second Federal Action for lack of irreparable harm. Id., ECF No. 4.
2
 Plaintiffs’ request is docketed at ECF No. 29 in the Foreclosure Action, ECF No. 55 in the First Federal Action, and
ECF No. 14 in the Second Foreclosure Action. For ease of reference, the Court hereafter refers only to the filings
electronically docketed in the Second Federal Action.
3
 Plaintiffs have submitted a Final Judgment of Foreclosure entered by the Superior Court on December 7, 2021. See
ECF No. 14.1, at 111.
4
 The Court also lacks jurisdiction to directly review or vacate the Judgment of Foreclosure under the Rooker-Feldman
doctrine. See Gage v. Wells Fargo Bank, NA AS, 521 F. App’x 49, 51 (3d Cir. 2013).
5
 Plaintiffs appear to argue that the alleged errors resulted in the entry of a default foreclosure judgment against then.
Gurvey Aff. ¶ 15. Again, to the extent Plaintiffs ask to vacate the Judgment of Foreclosure based on alleged errors
committed in Superior Court, this Court lacks jurisdiction to grant such relief.

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seeking a preliminary injunction must establish that he is likely to succeed on the merits, that he
is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities
tips in his favor, and that an injunction is in the public interest.”). Plaintiffs’ request for an order
to show cause is therefore denied as it pertains to the Second Federal Action, without prejudice to
Plaintiffs renewing their substantive arguments once the defendants named in the Second Federal
Action have been properly served 6 and the case progresses.
       Finally, Plaintiffs’ request to consolidate the Foreclosure, First Federal, and Second
Federal Actions is denied as moot, as only the Second Federal Action is presently active and
pending before this Court.
                                                       * * *
       In sum, Plaintiffs’ request for issuance of an order to show cause is denied with respect to
the Foreclosure Action and Second Federal Action. With respect to the First Federal Action, the
Court construes Plaintiffs’ application as a motion for relief from judgment pursuant to Rule 60(b)
and directs the defendants named therein to respond by April 1, 2022. Plaintiffs shall file any
reply by April 8, 2022. Plaintiffs’ requests for consolidation and to enjoin a pending sheriff’s sale
are denied. The Clerk of Court is directed to serve a copy of this Order on Plaintiffs via Certified
Mail.
                                                              SO ORDERED.
                                                              /s Madeline Cox Arleo__________
                                                              MADELINE COX ARLEO
                                                              UNITED STATES DISTRICT JUDGE




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    No defendant has yet appeared in the Second Federal Action.

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